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              EXHIBIT B
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Katz-Lacabe, et al. v. Oracle America, Inc. - Lodestar Summary by Category

Firm Name:                  Lieff Cabraser Heimann & Bernstein, LLP
Reporting Period:           Inception to 08/08/24


Disbursement                          Amount
Books/Subscriptions                    $119.82
Computer Research                    $9,472.92
Deposition/Transcripts               $3,268.36
Electronic Database                  $6,511.97
Experts/Consultants                $146,198.21
Federal Express/Messenger              $808.34
Mediation Expenses                  $37,951.85
Print                                $4,952.40
Process Service                        $157.20
Deposition Travel                    $1,909.45
Total Expenses:                    $211,350.52
